November 18, 2021

                                                                                                                          Robert T. Adams
VIA ECF                                                                                                          2555 Grand Blvd.
                                                                                                       Kansas City, Missouri 64108
Senior District Judge Nanette K. Laughrey                                                                           t 816.474.6550
Charles Evans Whittaker U.S. Courthouse                                                                           dd 816.559.2230
400 E. 9th Street                                                                                                    f 816.421.5547
Kansas City, Missouri 64106                                                                                     rtadams@shb.com

Re: James DuCharme v. DST Systems, Inc.
    Case No. 4:21-cv-09091-NKL

Dear Judge Laughery:

         On behalf of DST Systems, Inc. (“DST”), we write to inform the Court
that, on November 18, 2021, the United States District Court for the Southern
District of New York entered a preliminary injunction enjoining Plaintiff
(along with other Arbitration Claimants) from instituting new actions or
litigating in arbitration or other proceedings against DST matters arising out
of or relating to the facts or transactions alleged in the amended complaint in
the action Ferguson v. Ruane Cuniff & Goldfarb Inc., 17-cv-6685 (ALC), the
Rule 23(b)(1) mandatory class proceeding in which Plaintiff is a class
member. The Ferguson Court’s Order is attached as Exhibit A. Judge Carter
read his decision at today’s hearing and we will provide a transcript when it is
available.

        We respectfully submit that this action should be stayed while the
injunction remains in effect. In light of the injunction prohibiting Plaintiff
from further prosecuting this action, DST intends to take no further action in
this proceeding absent contrary instruction by the Court.

                                                                   Respectfully submitted,




                                                                   Robert T. Adams

RTA/rl
Attachment




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